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Form B18 (Official Form 18)(12/01/2007)

                                       United States Bankruptcy Court
                                               Eastern District of New York
                                            271 Cadman Plaza East, Suite 1595
                                                Brooklyn, NY 11201−1800

IN RE:                                                                                                  CASE NO: 1−08−48275−jf
   Hilal Khalil Homaidan
     aka Helal K Homaidan
   9 Montrose Ave
   1A
   Brooklyn, NY 11211
    Name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address.
Social Security/Individual Taxpayer ID/Taxpayer ID/Employer ID No.:                                               CHAPTER: 7
   xxx−xx−1414
                          DEBTOR(s)




                                             DISCHARGE OF DEBTOR(S)

It appearing that the debtor(s) is entitled to a discharge,

IT IS ORDERED:

The debtor(s) is granted a discharge under Section 727 of Title 11, United States Code, (the Bankruptcy Code).



                                                                      BY THE COURT

Dated: April 9, 2009                                                  s/ Jerome Feller
                                                                      United States Bankruptcy Judge



                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

       This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of the case and
it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

       The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged. For example,
a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach
wages or other property, or to take any other action to collect a discharged debt from the debtor(s). A creditor who
violates this order can be required to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts;

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                          CERTIFICATE OF NOTICE
District/off: 0207-1           User: fharrigan               Page 1 of 2                   Date Rcvd: Apr 09, 2009
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The following entities were served by first class mail on Apr 11, 2009.
db           +Hilal Khalil Homaidan,     9 Montrose Ave,     1A,    Brooklyn, NY 11211-7491
smg          +Diana Adams,    Office of the United States Trustee,       271 Cadman Plaza East,
               Brooklyn, NY 11201-1820
smg          +NYC Department of Finance,     345 Adams Street, 3rd Floor,       Attn: Legal Affairs - Devora Cohn,
               Brooklyn, NY 11201-3719
smg          +NYS Department of Taxation & Finance,      Bankruptcy Unit,      PO Box 5300,   Albany, NY 12205-0300
smg          +NYS Unemployment Insurance,     Attn: Insolvency Unit,       Bldg. #12, Room 256,
               Albany, NY 12240-0001
5993421       Bank of America NA,     POBox 25118,    Tampa FL 33622-5118
6091660       Beth Israel Medical Center,     POBox 95000-2195,      Petrie Division,    Philadelphia PA 19195-2195
6091662       Cablevision,    PO Box 371378,     Pittsburgh PA 15250-7378
5993423       Cablevision Optimum,     POBox 9256,    Chelsea MA 02150-9256
6091661      +Cablevision Systems Corp,     1101 Stewart Avenue,      Bethpage NY 11714-3580
6091663      +Center for Complex Dentistry,      233 East Shore Road,      Great Neck NY 11023-2433
6091665      +Chex Systems Inc,     7805 Hudson Road,    Suite 100,     Woodbury MN 55125-1703
5993424       Con Edison,    Cooper Station,     POBox 138,    New York NY 10276-0138
6002906      +Consolidated Edison Company of New York, Inc.,        4 Irving Place, Room 1875-S,
               New York, New York 10003-3502,      Attn: Bankruptcy Group
6091666       East Manhattan Diag IMG,     POBox 10270,     Uniondale NY 11555-0270
6091667      +Gary Gettenberg MD,     1630 East 14 Street,     Brooklyn NY 11229-1104
6091668      +Joseph E Martz,     10 Union Square E,    New York NY 10003-3314
5993428      +Lending Club Corporation,     440 N Wolfe Rd,      3d Floor,    Sunnyvale CA 94085-3869
5993429      +Marshall Ellison,     9052 Fort Hamilton Pkwy,      Suite 1R,    Brooklyn NY 11209-6447
6091669       Martin Bassiur DDS,     POBox 0387,    Woodmere NY 11598-0387
6091670      +Mercy Medical Group,     421 East Angeleno Ave #102,      Burbank CA 91501-2286
6091676       NYC Department of Finance,     Parking Violations Operations,       Peck Slip Station,    PO Box 2028,
               New York NY 10272-2028
5993431      +NYC Department of Finance,     Office of Legal Affairs,       Enforcement Attorneys Unit,
               66 John Street,     New York, NY 10038-3735
6091675       NYC Department of Finance,     Parking Violations,      Church Street Station,    PO Box 3600,
               New York NY 10008-3600
5993430      +National Grid,    Customer Correspondence,      One MetroTech Center 16th Floor,
               Brooklyn NY 11201-3831
6091671      +Nessim Roumi,    2522 Ocean Avenue,     Brooklyn NY 11229-3916
6091672      +Netflix,    POBox 548008,    Flushing NY 11354-8008
6091673       Neurological Services,     POBox 2645,    Framingham MA 01703-2645
6091674       New York Methodist Hospital,     POBox 27792,      New York NY 10087-7792
6091677      +Osman Ali MD,    19 West 34th St PH,     New York NY 10001-3006
6091678       Quest Diagnostic Incorporated,      POBox 64196,     Baltimore MD 21264-4196
6091679      +Robert F. Solimine,     9006 5th Avenue,    Brooklyn NY 11209-5908
5993432       Sallie Mae,    POBox 9500,    Wilkes Barre PA 18773-9500
6091680      +Southboro Medical Group,     POBox 3415,    Boston MA 02241-0001
6091681      +Tivo,    Dept 8277,    Los Angeles CA 90084-0001
6091682      +Town of Northboro,     63 Main St,    Northboro MA 01532-1994
6091684      +Transworld Systems Inc,     POBox 1864,    Santa Rosa CA 95402-1864
6091683      +Transworld Systems Inc,     Collection Agency,      1099 Wall St West #242,    Lyndhurst NJ 07071-3605
6091685      +West Asset Management,     7171 Mercy Road,     Omaha NE 68106-2620
The following entities were served by electronic transmission on Apr 09, 2009.
6091657       EDI: RMCB.COM Apr 09 2009 15:18:00      AMCA,    POBox 1235,   Elmsford NY 10523-0935
5993422      +EDI: BANKAMER.COM Apr 09 2009 15:18:00      Bank of America,    POBox 1390,    Norfolk VA 23501-1390
6091658       EDI: BANKAMER.COM Apr 09 2009 15:18:00      Bank of America,    4060 Ogletown Stanton Rd,
               Newark DE 19713-3102
5993421       EDI: BANKAMER2.COM Apr 09 2009 15:18:00       Bank of America NA,    POBox 25118,
               Tampa FL 33622-5118
6091659      +EDI: TSYS2.COM Apr 09 2009 15:18:00      Barclays Bank Delaware,     125 south west str,
               Wilmington DE 19801-5014
6071045       EDI: RECOVERYCORP.COM Apr 09 2009 15:18:00       Capital Recovery II,
               c/o Recovery Management Systems Corp.,    Attn: Ramesh Singh,     25 SE 2nd Avenue, Suite 1120,
               Miami, FL 33131-1605
6091664      +EDI: CHASE.COM Apr 09 2009 15:19:00      Chase Bank One Card,     800 Brooksedge Blvd,
               Westerville OH 43081-2822
5993425       EDI: TSYS2.COM Apr 09 2009 15:18:00      DSNB MACYS,    9111 Duke Blvd,    Mason OH 45040-8999
5993426      +EDI: HFC.COM Apr 09 2009 15:18:00      HSBC Best Buy,    POB 15521,    Wilmington DE 19850-5521
5993427      +EDI: CHASE.COM Apr 09 2009 15:19:00      JPMorgan Chase Bank NA,     POBox 260180,
               Baton Rouge LA 70826-0180
6068485       EDI: RECOVERYCORP.COM Apr 09 2009 15:18:00       Recovery Management Systems Corporation,
               25 S.E. 2nd Avenue, Suite 1120,    Miami, FL 33131-1605
5993433       EDI: WFNNB.COM Apr 09 2009 15:18:00      WFNNB EXPRESS STRUCTURE,     POBox 330064,
               Northglenn CO 80233-8064
                                                                                                TOTAL: 12
           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                            TOTAL: 0
Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.
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              ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Apr 11, 2009                                      Signature:
